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                               UNITED STATES DISTRICT COURT

                                     DISTRICT OF NEVADA

                                                 ***
                                                  )
UNITED STATES OF AMERICA,                         )          3:08-cr-00006-LRH-WGC
                                                  )
                        Plaintiff,                )
v.                                                )          MINUTE ORDER
                                                  )
JENNIFER LYNN FRENCH,                             )
                                                  )          October 28, 2014
                        Defendant.                )
                                                  )

PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:           NONE APPEARING                 REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                      NONE APPEARING
COUNSEL FOR DEFENDANT(S):                      NONE APPEARING
MINUTE ORDER IN CHAMBERS:

       Before the court is Defendant Jennifer Lynn French’s Unopposed Motion to Change Caption
to Reflect Post-09/26/12 Legal Name – Jennifer Lynn (#425)1. The court having reviewed the
unopposed motion, and GOOD CAUSE APPEARING,

        Defendant’s Unopposed Motion to Change Caption to Reflect Post-09/26/12 Legal Name
– Jennifer Lynn (#425) is GRANTED. The Clerk of the Court shall change the caption in this matter
to reflect Defendant’s legal name change.

       IT IS SO ORDERED.
                                                       LANCE S. WILSON, CLERK

                                                       By:             /s/
                                                                    Deputy Clerk




       1
           Refers to court’s docket number.
